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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA )
                         )
     v.                  )                    Cr. No. 09-10166-MLW
                         )
SALVATORE F. DIMASI,     )
JOSEPH P. LALLY, JR.,    )
RICHARD W. MCDONOUGH,    )
and RICHARD D. VITALE,   )
     Defendants.         )


                          MEMORANDUM AND ORDER

WOLF, D.J.                                                 March 16, 2011

I.    INTRODUCTION

       On February 28, 2011, the Globe Newspaper Company, Inc. (The

"Globe") moved to intervene (the "Motion to Intervene") for the

limited purpose of requesting that the court: (1) vacate or modify

the Protective Order entered in this case on June 23, 2009; (2)

unseal the currently redacted portions of the December 18, 2009

Affidavit of AUSA S. Theodore Merritt; and (3) unseal any and all

witness lists and exhibit lists filed by the government or any

defendant.     For the reasons explained in this Memorandum, the

Motion to Intervene is being allowed to the extent that a less

redacted form of the Merritt Affidavit is being made part of the

public record and is otherwise being denied.

II.   THE REQUEST TO UNSEAL

       a.   The Legal Standard

       Constitutional and common law rights of access apply to

judicial documents.      See In re Boston Herald, 321 F.3d 174, 180
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(1st Cir. 2003).

          There is at common law "a general right to inspect
     and copy public records and documents." Nixon v. Warner
     Communications, 435 U.S. 589, 597 (1978). This right,
     however, is not absolute. Id. at 598. Rather, "judicial
     documents are presumptively available to the public, but
     may be sealed if the right to access is outweighed by the
     interests favoring nondisclosure."      United States v.
     McVeigh, 119 F.3d 806, 811 (10th Cir. 1997)(citing Nixon,
     435 U.S. at 602); see also United States v. Amodeo, 71
     F.3d 1044, 1047-50 (2d Cir. 1995).             Among the
     countervailing factors favoring nondisclosure are: (i)
     prejudicial pretrial publicity; (ii) the danger of
     impairing law enforcement or judicial efficiency; and
     (iii) the privacy interests of third parties.         See
     Amodeo, 71 F.3d at 1050; see also McVeigh, 119 F.3d at
     813-14; In re Globe Newspaper Co., 729 F.2d 47, 59 (1st
     Cir. 1984).

United States v. Salemme, 985 F. Supp. 193, 194-95 (D. Mass.
1997)(footnote omitted).

     In addition:

          The public generally has a qualified First Amendment
     right to access to pretrial proceedings in a criminal
     case. See Press-Enterprise Co. v. Superior Court, 478
     U.S. 1, 9 (1986); In re Globe Newspaper Co., 729 F.2d 47,
     51-52 (1st Cir. 1984).      This right extends to the
     documents on which judicial decisions are based. See In
     re Globe Newspaper Co., 729 F.2d at 52, 59; United States
     v. McVeigh, 119 F.3d 806, 811 (10th Cir. 1997); United
     States v. Amodeo, 71 F.3d 1044, 1047-50 (2d Cir. 1995).

          However, "[t]he Supreme Court has emphasized that
     the public's right to access to criminal proceedings is
     not absolute, and that it must in some circumstances give
     way to the paramount rights of the accused." In re Globe
     Newspaper Co., 729 F.2d at 52 (citing Press-Enterprise
     Co., 478 U.S. at 508). A defendant's Sixth Amendment
     right to a fair trial is an important consideration and
     may outweigh the public's qualified First Amendment right
     to access to pretrial proceedings. See Press Enterprise
     Co., 478 U.S. at 9; In re Globe Newspaper Co., 729 F.2d
     at 52-53. Privacy interests may also militate against
     open proceedings. See In re Globe Newspaper Co., 729
     F.2d at 52-56.

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United States v. DiMasi, Cr. No. 09-10166, 2009 WL 2411313, at *1

(D. Mass. Aug. 5, 2009).

      b.    The Request to Unseal Witness Lists and Exhibit Lists

      The Globe requests that the court unseal any exhibit or

witness list filed by any party.            Contrary to media reports, no

witness list or exhibit list has been filed with the court either

for   the   public   record   or    under   seal.    Such    lists    are   not,

therefore, under seal and cannot be unsealed.          When such lists are

filed, the court will decide whether they should be part of the

public record in complete or redacted form.

      c.    The Request to Unseal the Merritt Affidavit

      The Globe also requests that the court unseal the redacted

portions of the December 18, 2009 Affidavit of AUSA S. Theodore

Merritt.    Several versions of this affidavit have been filed: (i)

the Merritt Affidavit and exhibits (Docket No. 174 ex parte and

under seal), which were rejected by the court in a March 9, 2010

Order and which were not relied upon in deciding any pretrial

motion; (ii) the First Redacted Merritt Affidavit (Docket No. 189

under seal); (iii) the Second Redacted Merritt Affidavit (Docket

No. 216 under seal), upon which the court relied in deciding a

motion to dismiss for alleged abuse of the grand jury; (iv) the

Third Redacted Merritt Affidavit (Docket Nos. 233 and 234-1), which

is in the public record; and (v) the Fourth Redacted Merritt

Affidavit    (Docket   No.    352   under   seal),   which   the     government


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proposes be released to the public now.1             Defendants oppose the

release of additional portions of the Merritt Affidavit.

     As noted in the March 25, 2010 Order, the court relied on the

Second Redacted Merritt Affidavit (Docket No. 216) in deciding

pretrial motions.        The common law and qualified constitutional

rights of access apply to this filing.            See Amodeo, 71 F.3d        at

1049; In re Globe Newspaper, 729 F.2d at 59.             Almost all of the

information contained in the Second Redacted Merritt Affidavit has

already been released to the public through the Third Redacted

Merritt Affidavit, discussion of and rulings on pretrial motions at

the March 23 and 24, 2010 hearings, the government's Trial Brief,

and recently filed motions to exclude evidence related to Genesis.

     Accordingly, the court is allowing the Motion to Intervene to

the extent that it is unsealing the Second Redacted Merritt

Affidavit with slight additional redactions. Specifically, certain

names are being redacted from paragraphs eight and sixteen, and

paragraph eighteen is being redacted in its entirety.                     These

additional      redactions    are   necessary   to   protect   the   privacy

interests of third parties who testified before the grand jury and

are not parties to this case, and to prevent possible unfairly

prejudicial pretrial publicity.         See Amodeo, 71 F.3d      at 1050; In


     1
      While the various redacted affidavits refer to attached
exhibits, only the original Merritt Affidavit, which the court
declined to consider ex parte, had exhibits attached. The court
did not review or rely upon the exhibits. Therefore, they are
not being unsealed.

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re Globe Newspaper, 729 F.2d at 59.

III.       THE PROTECTIVE ORDER

       On June 22, 2009, the government filed an assented-to motion

for a protective order and a proposed order.            On June 23, 2009, the

court      entered    the   protective   order   with   minor   modifications.

Except in defined circumstances, the protective order prohibits

defense counsel from further disseminating designated documents and

information disclosed to them by the government.2                   The Globe

requests that this order be vacated or modified because the Globe

alleges that, in its present form, it violates the First Amendment.

Defendants do not seek relief from the protective order and, in

fact, object to vacating it.3             The government also opposes the

request.

       Under these circumstances, the Globe lacks standing to assert



       2
      The protective order permits defense counsel to release
designated documents and information to third parties, such as
agents of defense counsel and prospective witnesses, and
restrains these third parties from further disseminating the
documents and information, provided that the third party must
agree to comply with the protective order in advance of receiving
the documents and information. See June 23, 2009 Protective
Order ¶2. Therefore, no person is being restrained by the
protective order without consenting to obey it in advance.
       3
      Although the government is not restrained by the protective
order, it represents that it is comparably constrained by the
Federal Rules of Criminal Procedure, the Local Rules for the
United States District Court for the District of Massachusetts,
see L.R. 83.2A, and 28 C.F.R. §50.2. In reliance on these
representations, at the March 9, 2010 hearing, defendants orally
withdrew their request to expand the protective order to restrain
agents of the government.

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that the protective order should be vacated or modified because it

is suffering no injury as a result of the protective order.              See

Bond v. Utreras, 585 F.3d 1061, 1077-78 (7th Cir. 2009); cf. Public

Citizen v. Liggett Group, Inc., 858 F.2d 775, 787 n.12 (1st Cir.

1988).     The First Circuit has not found that any statute or rule

establishes a right of the Globe to participate in this criminal

case.     See In re Globe Newspaper Co., 920 F.2d 88, 90 (1st Cir.

1990)(noting that "the right of a non-party to intervene in a

criminal proceeding is doubtful" but declining to decide the

issue).     The protective order does not restrain the Globe from

publishing any information it obtains.         Cf. New York Times Co. v.

United States, 403 U.S. 713, 714 (1971)(per curiam)(rejecting prior

restraint of publication by newspapers).         Nor does it restrain the

government from releasing information as required by the Freedom of

Information Act or any other provision of law.          See 5 U.S.C. §552.

        Although the Globe has a qualified common law right to access

to judicial documents, that right does not extend to documents

merely provided to defense counsel in discovery.            See Amodeo, 71

F.3d at 1050.      Similarly, the qualified constitutional right of

access extends only to judicial documents, see In re Boston Herald,

Inc., 321 F.3d at 182, meaning materials which, unlike documents

only disclosed in discovery in a criminal case, play a role in

judicial decisionmaking and have traditionally been accessible to

the public.     See Bond, 585 F.3d at 1074 ("'[D]iscovered, but not


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yet admitted, information' is not 'a traditionally public source of

information.'" (quoting Seattle Times Co. v. Rhinehart, 467 U.S.

20, 33 (1984)).

     "[A] First Amendment right-to-receive claim lies only where

there is a willing speaker because 'a precondition of the right to

receive is the existence of a willing speaker.'" Bond, 585 F.3d at

1078 (quoting Indiana Right to Life, Inc. v. Shepard, 507 F.3d 545,

549 (7th Cir. 2007))(internal brackets and ellipses omitted); see

Virginia State Bd. of Pharmacy v. Virginia Citizens Consumer

Council, Inc., 425 U.S. 748, 756 & n.14 (1976).         The Globe is not

being denied any right to receive information from a willing

speaker because defense counsel assented to the protective order at

its inception, because third parties are only subject to order if

they agree to be restrained by it in advance, and because no person

restrained by the protective order seeks relief from it now.           See

Bond, 585 F.3d at 1077-78 (holding third parties lack standing to

challenge a protective order where the litigants agreed to the

protective order and did not seek its modification); Oklahoma Hosp.

Ass'n v. Oklahoma Publ'g Co., 748 F.2d 1421, 1424-25 (10th Cir.

1984)); cf. Public Citizen, 858 F.2d at 787 n.12.           As the Globe

conceded at the March 9, 2011 hearing, it has no right to compel

the release of discovery information by an unwilling defendant or

his counsel.   Cf. Banco Popular de Puerto Rico v. Greenblatt, 964

F.2d 1227, 1232-33 (1st Cir. 1992)(reaching similar conclusion in


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the context of civil litigation).             Accordingly, the Globe is not

suffering any injury because of the protective order. Therefore, it

has no standing to challenge its legality.                See Bond, 585 F.3d at

1077-78.

      Moreover, even if the Globe had standing to challenge it, the

protective order satisfies the requirements of the First Amendment

because it was entered for, and continues to be supported by, good

cause.    The restrictions are limited to the discovery context, and

the   order   does     not    prohibit       defendants    from      disseminating

information obtained from sources other than the government.                      See

Fed. R. Crim. P. 16(d)(1) (permitting protective orders for good

cause);    Anderson    v.    Cryovac,    Inc.,   805    F.2d    1,   7   (1st   Cir.

1986)(applying a similar First Amendment standard in civil cases).

      In this case, the former Speaker of the Massachusetts House of

Representatives and several of his associates are charged with

crimes of corruption. The allegations received extensive publicity

prior to the return of the indictment and continue to be heavily

publicized.    See, e.g., A Speaker's Fall, http://www.boston.com/

news/local/massachusetts/specials/012609_dimasi/                  (last    visited

March 16, 2011)(collecting numerous articles published between 2008

and the present).      Trial is scheduled to begin in about six weeks.

Restrictions on the dissemination of discovery materials were, and

remain,    necessary    to    facilitate      defendants'      timely    access   to

voluminous    records,       to   prevent    unfairly     prejudicial     pretrial


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publicity which might hamper the selection of an impartial jury,

and to protect the privacy interests of third parties.          There was

and is, therefore, good cause for the entry and continuance of the

protective order. See Fed. R. Crim. P. 16(d)(1). Accordingly, the

protective order satisfies the requirements of the First Amendment.

See Anderson, 805 F.2d at 7.

IV.   ORDER

      In view of the foregoing, it is hereby ORDERED that the Motion

to Intervene (Docket No. 328) is ALLOWED to the extent that the

court is unsealing the Second Redacted Merritt Affidavit with

slight additional redactions. In all other respects, the Motion to

Intervene is DENIED.




                                              /s/ Mark L. Wolf
                                        UNITED STATES DISTRICT JUDGE




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